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       IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DIVISION OF ILLINOIS

  DEANDRE BRADLEY
                                                               20-cv-051 16
           Vs
111th Food Market dlbla Express Food Mart ll,             Judge Steven G. Seeger
                                                         Magistrate Beth W. Jantz
                             COMPLAINT FOR MONETARY RELIEF



                                              PARTIES

 Deandre Bradley is the pro-se plaintiff who is a 29 year old wheelchair bound male who
 is located at 103 west 112th street Chicago 1L,60628.

 Defendant 11lth Food Market d/b/a Express Food Mart ll is located 11058 south
 Wentworth Ave Chicago 1L,60628 is being sued in its individualand or officialcapacities
  pursuant to title 3 of the americans with disabilities act.

                                          JURISDICTION

 This court has jurisdiction over the plaintiffs claims pursuant to 42 USC sec.12101 et
 seq

                                  STATEMENT OF FACTS
 1.Pro-se plaintiff Deandre Bradley at all times relevant to this complaint is a wheelchair
 bound individual who qualifies under the Americans with Disabilities Act as a person
 with a disability.

 2.On May 25,2O2A the plaintifi attended Roseland hospita! to have staples removed
 from this abdomen. While waiting the plaintiff pushed his wheelchair to the defendants
  store Express Food Mart ll.

  3.When the plaintiff anived in the parking lot, the plaintiff located a ramp that would
  allow him access to the side walk. The ramp was small ill-maintenanced and there was
  a car parked too close to the ramp.
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4.Not looking for something to complain about the plaintiff used the ramp to the best of
his ability and was able to gain access to the store.
S.The plaintiff went back to the hospital and the staples were removed ,the plaintiff
returned to the defendants store for medicalsupplies and tobacco products on the same
day.

6.This time when the plaintiff arrived in the parking lot there was a car parked right on
top of the wheelchair ramp.The plaintiff asked the car to move and the man in the car
was unaware that he was parked over or on the ramp and stated a fact.

7.This individual stated in a very aggressive threatening manner that there are no lines
painted on the ground and there are no signs posted anywhere.

8.To avoid any confrontation the plaintiff saw a employee and stopped him and
explained that he had no access to the store because the ramp was unavailable
because customers are not being instructed on where they can and can't park ,therc
requesting that this employee shop for the plaintiff and was told that they don't do shop
for customers.

9.A lady who was nearby saw and heard the plaintiff ,then approacfied the plaintiff and
tried to help but her time was limited so she purchased tobacco products and almost got
into a verbal altercation with the man who was parked over the ramp in the plaintiffs
defense.

10.Due to the above stated reasons the plaintiff was intentionally discriminated against
by this company and respectfrrlly request compensation.

11.The plaintiff also tried to resolve this issue prior to any court but the defendants are
refusing to.

12.Since this incident the defendants did take appropriate action, the entire parking lot
has been remodeled and is now up to code.This is more proof into plaintiffs claims.

13.The plaintiff was not able to obtain medical supplies to treat his wound which
eventually ended up becoming infected as antibiotics had to be prescribed to treat the
plaintiff.



                                           RELIEF
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       The plaintiff Deandre Bradley is entitled to be compensated for the intentional
       discrimination inflicted upon him by this priviate company.

       The law provides that pursuant to title 3 of the americans with disabilities act certain
       accommodations must be made available.

       The humiliation caused by this companies reckless failure to provide           simple
       maintenance to a parking lot ,the disrespect and ignorance of an employee to refuse to
       help a customer in a wheelchair is a problem.

       Plaintiff is requesting Compensatory damages in the amount of $65,000.00.

                   Respectfully submitted



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